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Facts & Figures


Here are a few facts about our company.

     • We were founded in 1930 in Winter Haven, Florida, by George W. Jenkins.
     • We are the largest employee-owned company in the United States.

     • We are one of the 10 largest-volume supermarket chains in the country.
     • Our retail sales in 2022 reached $54.5 billion.
     • Currently, we employ over 250,000 people.
     • We've received numerous awards for being a great place to shop and work.

. . . and these are our Southeast locations.
1,365 store locations


     • Alabama (90 stores)
     • Florida (863 stores)
     • Georgia (211 stores)

     • Kentucky (1 store)
     • North Carolina (54 stores)
     • South Carolina (69 stores)
     • Tennessee (57 stores)
     • Virginia (20 stores)

10 distribution centers


     • Boynton Beach, Florida
     • Dacula, Georgia
     • Deerfield Beach, Florida

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     • Greensboro, North Carolina

     • Jacksonville, Florida
     • Lakeland, Florida
     • McCalla, Alabama
     • Miami, Florida
     • Orlando, Florida

     • Sarasota, Florida

10 manufacturing facilities


     • Atlanta, Georgia (Bakery plant)
     • Dacula, Georgia (Dairy plant)
     • Deerfield Beach, Florida (Dairy plant, Fresh Kitchen)
     • Lakeland, Florida (Bakery plant, Dairy plant, Deli Kitchen, Fresh Kitchen, Printing Services)
     • Orlando, Florida (Produce Snacks)




    Publix Photo Timeline


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    Take a tour of our Photo Timeline to learn more about the history of Publix since our company was founded in
    1930.




    Awards
    Publix is proud of our accomplishments as a caring employer, industry leader, and member of the community.




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